    Case 1:18-cv-02039-JHR-SDA            Document 175          Filed 02/20/25    Page 1 of 2




                                                     U.S. Department of Justice

                                   ϮͬϮϬͬϮϬϮϱ         United States Attorney
                                                     Southern District of New York

                                                     86 Chambers Street
                                                     New York, New York 10007


                                                     February 19, 2025

By ECF
Hon. Stewart D. Aaron
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

       Re:     Burton, et al. v. United States of America, et al., No. 18 Civ. 2039 (JHR) (SDA)

Dear Judge Aaron:

        This Office represents the remaining defendants (the “Government”) 1 in this case, which
arises from the death of Franklin Sanchez, a Colombian national who died while in custody at the
MCC in March 2015. The case is before Your Honor for all general pretrial matters. Dkt. No. 144.
We write respectfully, on behalf of all remaining parties, to request a settlement conference and a
temporary stay of discovery so that the parties can explore the possibility of settlement before
incurring the costs associated with completing expert depositions.

        The parties have completed fact discovery and Plaintiff served an expert report on January
19, 2025. Defendants served an expert report in 2019 and, in accordance with the current schedule,
see Dkt. Nos. 172, 173, plan to serve a rebuttal report by February 20, 2025. Expert discovery is
scheduled to close by March 20, 2025. With the benefit of completed fact discovery and expert
reports, the parties believe that they will be well positioned to engaged in informed settlement
negotiations that may lead to a consensual resolution of the case, potentially without the need to
conduct expert depositions between February 20 and March 20, 2025.

        Accordingly, we respectfully request that the Court schedule a settlement conference
sometime after Defendants serve their expert rebuttal report. We further respectfully request that
the Court stay discovery (in essence, the deadline to complete expert depositions and for any
motion practice on spoliation) while the parties pursue settlement discussions, to conserve attorney
and judicial resources and avoid potentially unnecessary further expenditures on experts, court
reporters, and other litigation expenses.

1
  Specifically, this Office represents defendant the United States of America, which is sued under
the Federal Tort Claims Act, and defendants Anthony Bussanich, Robert Beaudouin, Ysmael
Joaquin, Kimberly Shivers, Lorenzo Barazza, Gerald Castillo, Wilson Silva, Quentin Holzendorf,
Terrance Thomas, Rosalind Silvia, and Shaadiq Shakir, who are current or former employees of
the Bureau of Prisons sued in their individual capacity under Bivens v. Six Unknown Fed. Narcotics
Agents, 403 U.S. 388 (1971).
      Case 1:18-cv-02039-JHR-SDA          Document 175         Filed 02/20/25    Page 2 of 2




        We thank the Court for its consideration of this request.

                                                      Respectfully,

                                                      MATTHEW PODOLSKY
                                                      Acting United States Attorney for the
                                                      Southern District of New York

                                                 By: /s/ Mollie Kornreich
                                                     MOLLIE KORNREICH
                                                     BRANDON H. COWART
                                                     Assistant United States Attorneys
                                                     86 Chambers Street, Third Floor
                                                     New York, NY 10007
                                                     Telephone: (212) 637-2693/3274
                                                     E-mail: brandon.cowart@usdoj.gov
                                                             mollie.kornreich@usdoj.gov

cc:     By ECF
        Plaintiffs’ Counsel

 ƉƉůŝĐĂƚŝŽŶ'ZEd͘dŚĞƉĂƌƚŝĞƐĂƌĞĚŝƌĞĐƚĞĚƚŽĂƉƉĞĂƌĨŽƌĂƐĞƚƚůĞŵĞŶƚĐŽŶĨĞƌĞŶĐĞŽŶ&ƌŝĚĂǇ͕
 DĂƌĐŚϳ͕ϮϬϮϱ͕ĂƚϭϬ͗ϬϬĂ͘ŵ͘ŝŶŽƵƌƚƌŽŽŵϭϭ͕hŶŝƚĞĚ^ƚĂƚĞƐŽƵƌƚŚŽƵƐĞ͕ϱϬϬWĞĂƌů^ƚƌĞĞƚ͕EĞǁ
 zŽƌŬ͕EzϭϬϬϬϳ͘dŚĞƉĂƌƚŝĞƐŵƵƐƚĐŽŵƉůǇǁŝƚŚƚŚĞ^ĞƚƚůĞŵĞŶƚŽŶĨĞƌĞŶĐĞWƌŽĐĞĚƵƌĞƐĨŽƌDĂŐŝƐƚƌĂƚĞ
 :ƵĚŐĞ^ƚĞǁĂƌƚ͘ĂƌŽŶ͕ĂǀĂŝůĂďůĞĂƚŚƚƚƉ͗ͬͬǁǁǁ͘ŶǇƐĚ͘ƵƐĐŽƵƌƚƐ͘ŐŽǀͬũƵĚŐĞͬĂƌŽŶ͘WůĞĂƐĞŶŽƚĞƚŚĂƚ
 ^ĞĐƚŝŽŶϰŽĨƚŚĞWƌŽĐĞĚƵƌĞƐƌĞƋƵŝƌĞƐĐŽƵŶƐĞůĨŽƌĞĂĐŚƉĂƌƚǇƚŽƐĞŶĚĂƉƌĞͲƐĞƚƚůĞŵĞŶƚĐŽŶĨĞƌĞŶĐĞ
 ůĞƚƚĞƌŶŽůĂƚĞƌƚŚĂŶϳĚĂǇƐďĞĨŽƌĞƚŚĞĐŽŶĨĞƌĞŶĐĞ;ŝ͘Ğ͕͘&ƌŝĚĂǇ͕FebruaryϮϴ͕ϮϬϮϱͿ͘ŝƐĐŽǀĞƌǇŝŶƚŚŝƐ
 ĂĐƚŝŽŶŝƐƐƚĂǇĞĚƉĞŶĚŝŶŐĐŽŵƉůĞƚŝŽŶŽĨƚŚĞƐĞƚƚůĞŵĞŶƚĐŽŶĨĞƌĞŶĐĞ͘
 ^KKZZ͘
 ĂƚĞĚ͗&ĞďƌƵĂƌǇϮϬ͕ϮϬϮϱ




                                                 2
